                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                 LYNCHBURG DIVISION

UNITED STATES OF AMERICA                     )
ex rel. Jessica Patterson and                )
        Autumn Williams,                     )
                                             )
and                                          )
                                             )
COMMONWEALTH OF VIRGINIA,                    )
ex rel. Jessica Patterson and                )
        Autumn Williams,                     )
                                             )       Civil Action No. 6:19cv00068
               Plaintiffs,                   )
                                             )
       v.                                    )
                                             )
1ST ADULT & PEDIATRICS                       )
HEALTHCARE SERVICES, INC.                    )
(f/k/a 1st ADULT N PEDIATRICS                )
HEALTHCARE SERVICES INC.),                   )
                                             )
               Defendant.                    )

                                      STATUS REPORT

       The United States of America and the Commonwealth of Virginia (“the Commonwealth”)

(collectively, “the Government”) and the Defendant 1st Adult & Pediatrics Healthcare Services,

Inc. (formerly known as 1st Adult N Pediatrics Healthcare Services Inc.) (hereinafter “1st Adult”

or “Defendant”), hereby respectfully submit this Status Report pursuant to the Court’s request.

The Parties state as follows:

       1.      Over the course of several months, the Parties engaged in lengthy but productive

settlement discussions. The Parties recently reached a proposed resolution of this matter and have

memorialized the terms thereof in a proposed settlement agreement and related documents.

       2.      The proposed settlement documents are currently undergoing Governmental

approvals and awaiting signatures from appropriate Governmental authorities.         The Parties

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anticipate that the proposed settlement will be finalized within thirty (30) days after the date of

this Status Report.

       3.      The Parties will continue to work diligently to bring this matter to a prompt

conclusion. In the unlikely event that circumstances change, the Parties will notify the Court

accordingly.

DATED: March 31, 2023

                                             Respectfully submitted,

                                             ZACHARY T. LEE
                                             DEPUTY UNITED STATES ATTORNEY

                                      By:
                                                  /s/ Justin M. Lugar
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                                             COMMONWEALTH OF VIRGINIA


                                      By:         /s/ Matthew G. Howells
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      1ST ADULT & PEDIATRICS HEALTHCARE
      SERVICES, INC.


By:        /s/ Robert L. Jenkins, Jr.
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                                CERTIFICATE OF SERVICE

        I hereby certify that on March 31, 2023, I caused a copy of the foregoing Status Report to
be electronically filed with the Clerk of Court using the CM/ECF system, which will provide
copies to all counsel of record.




                                                    /s/ Matthew G. Howells
                                                    Matthew G. Howells
                                                    Assistant Attorney General




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